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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

EMA FINANCIAL, L.L.C..

                           Plaintiff,                                  ORDER

             - against -                                          17 Civ. 8558 (PGG)

PETRONE WORLDWIDE, INC., and
PETRONE FOOD WORK, INC.

                           Defendants.


PAUL G. GARDEPHE, U.S.D.J.:

               On July 31, 2018, Defendant Petrone Worldwide, Inc. filed a suggestion of

bankruptcy upon to record, as to a July 27, 2018 Chapter 7 bankruptcy petition filed in the

United States Bankruptcy Court for the Southern District of Florida. (Dkt. No. 34) On

September 13, 2018, this action was stayed pending the bankruptcy proceeding of Petrone

Worldwide. (Dkt. No. 41) On July 15, 2019, Judge John K. Olson issued a final decree in

Petrone Worldwide’s bankruptcy and discharged the trustee. In re Petrone Worldwide, Inc., No.

18 Bk. 19116 (JKO), Dkt. No. 16 (Bankr. S.D. Fla. July 15, 2019). Accordingly, it is hereby

ordered that the stay in this action is lifted and that Plaintiff’s claims against Petrone Worldwide

Inc. are dismissed.

Dated: New York, New York
       October 21, 2020
